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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION
                     Case Number: 13-14072-CIV-MARTINEZ-MAYNARD

  FRANCESCO MANASSE,
       Plaintiff,

  vs.

  MIDLAND FUNDING LLC and MIDLAND
  CREDIT MANAGEMENT, INC.,
        Defendants.
  _____________________________________/

                      FINAL ORDER OF DISMISSAL WITH PREJUDICE

         THIS MATTER is before the Court upon the parties’ Stipulation for Dismissal with

  Prejudice, [ECF No. 27]. It is hereby:

         ADJUDGED that this action is DISMISSED with prejudice, and this case is CLOSED.

  All parties shall bear their own attorneys’ fees and costs.

         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of June, 2021.




                                                        ___________________________________
                                                        JOSE E. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Maynard
  All Counsel of Record
